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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



UNITED STATES OF AMERICA


VS.                           CASE NO. 4:02CR00170-03 JMM


JEREMY A. JONES


                                   AMENDED JUDGMENT

       Pending before the Court is defendant’s unopposed pro se Motion for Early Release

From Supervised Release. For good cause shown, the motion is granted (#306). The Judgment

in this case is amended to reflect that the defendant Jeremy A. Jones’s supervised release is

terminated as of the date of this Amended Judgment.

       The Clerk of the Court is directed to provide the United States Marshal and the United

States Probation Office with a copy of this Amended Judgment. The Clerk is directed to mail a

copy of this Amended Judgment to the defendant.

       IT IS SO ORDERED THIS 20            day of October , 2008.




                                                     James M. Moody
                                                     United States District Judge
